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EXHIBIT 2

Form of Abandonment Notice

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)
In re: ) Chapter 11
)
ENERGY FUTURE HOLDINGS CORP., etal,’ ) Case No. 14-10979 (CSS)
)
Debtors. } Gointly Administered)
)
NOTICE OF ABANDONMENT

PLEASE TAKE NOTICE that, on April 29, 2014, the above-captioned debtors and debtors in
possession (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of the
Bankruptcy Code, 11 U.S.C. §§ 101-1532.

PLEASE TAKE FURTHER NOTICE that, on [DATE], 2014, the United States Bankruptcy
Court for the District of Delaware (the “Court”) approved an Order Establishing Procedures to Sell,
Transfer, or Abandon Certain De Minimis Assets [Docket No. __] the (“Abandonment Order”), whereby
the Court authorized the Debtors to abandon certain surplus, obsolete, non-core, unused, or burdensome
assets (collectively, the “De Minimis Assets”).

PLEASE TAKE FURTHER NOTICE that, pursuant to the Abandonment Order, the Debtors
propose to abandon the De Minimis Assets set forth and described on Exhibit A attached hereto (the
“Abandoned Assets”). Exhibit A also sets forth the Debtors’ reasons for abandoning those Abandoned
Assets and identifies the entity to which the Abandoned Assets are being abandoned (if any).

PLEASE TAKE FURTHER NOTICE that, pursuant to the Abandonment Order, any recipient
of this notice may object to the proposed abandonment within ten (10) calendar days of service of this
notice. Objections must: (i) be in writing; (i) be filed with the Court within ten (10) calendar days of
service of this notice (the “Objection Deadline”); and (iii) be submitted by mail or facsimile to counsel
for the Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Brian
Schartz (212) 446-4900 (facsimile). If you file a written objection with the Court by the Objection
Deadline, the Debtors may only abandon the De Minimis Assets upon submission of a consensual
form of order resolving the objection as between you and the Debtors, or upon further order of the
Court approving the abandonment of such De Minimis Assets.

| The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted on an interim basis, a complete list of the
debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
of such information may be obtained on the website of the debtors’ claims and noticing agent at
hitp://www.efhcaseinfo.com.

